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AO 472 (Rev. 3/86) Order of Detention Pending Trial


                                                      United States District Court
                                                                           DISTRICT OF KANSAS

             UNITED STATES OF AMERICA
                       v.                                                                      ORDER OF DETENTION PENDING TRIAL

                   FRANKLIN GOODWIN, JR.                                                       Case Number: 07-20168-24-JWL-DJW
                                         Defendant

     In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I conclude that the following facts
require the detention of the defendant pending trial in this case.
                                                           Part I - Findings of Fact
9 (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has been convicted of a (federal offense) (state
      or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed) that is
      9 a crime of violence as defined in 18 U.S.C. § 3156(a)(4).
      9 an offense for which the maximum sentence is life imprisonment or death.
      9 an offense for which a maximum term of imprisonment of ten years or more is prescribed in

             9 a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18
                    U.S.C. § 3142(f) (1)(A)-(C), or comparable state or local offenses.
9 (2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local
      offense.
9 (3) A period of not more than five years has elapsed since the (date of conviction) (release of the defendant from imprisonment) for
      the offense described in finding (1).
9 (4) Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably
             assure the safety of (an)other person(s) and the community. I further find that the defendant has not rebutted this presumption.
                                                             Alternative Findings (A)
9 (1) There is probable cause to believe that the defendant has committed an offense
      9 for which a maximum term of imprisonment of ten years or more is prescribed in ________________________________
      9 under 18 U.S.C. § 924(c).
9 (2) The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will
             reasonably assure the appearance of the defendant as required and the safety of the community.
                                                           Alternative Findings (B)
: (1) There is a serious risk that the defendant will not appear.
: (2) There is a serious risk that the defendant will endanger the safety of another person or the community.



                                          Part II - Written Statement of Reasons for Detention
    I find that the credible testimony and information submitted at the hearing establishes by (clear and convincing evidence) (a
preponderance of the evidence) that

                                                                                   (See attached pages)

                                                   Part III - Directions Regarding Detention
      The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections
facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The
defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of the United
States or on request of an attorney for the Government, the person in charge of the corrections facility shall deliver the defendant to the
United States marshal for the purpose of an appearance in connection with a court proceeding.

Dated: February 20, 2008                                                                       s/ David J. Waxse
                                                                                                             Signature of Judicial Officer

                                                                                               DAVID J. WAXSE, U.S. MAGISTRATE JUDGE
                                                                                                             Name and Title of Judicial Officer

*Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act (21 U.S.C. § 951 et seq.); or (c) Section 1 of Act of Sept. 15,
1980 (21 U.S.C. § 955a).
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                 Part II - Written Statement of Reasons for Detention

   The law has a set of factors found in 18 U.S.C. §3142 that I have to look at to determine

whether there are conditions that will reasonably assure your appearance and the safety of other

persons in the community.

   The first factor is the nature and circumstances of the offense charged, including whether the

offense is a crime of violence or involves a controlled substance, which of course it does in this

case, so that is a negative.

   The next factor is the weight of the evidence. There has been a Grand Jury determination of

probable cause, which is a negative.

   The next factor is your character, which includes your physical and mental condition. I see

nothing in the report that is a problem there.

   Your family ties, as evidenced by persons appearing today, are positive.

   Your employment is not real clear since it appears you have occasionally been employed.

   The next factor is your financial resources. There is no indication in the report that you have

substantial resources that would enable you to flee, so that is positive.

   Your length of residence in the community is positive.

   Your community ties are positive.

   The next factors, though, are problems. That includes your past conduct, history relating to

drug or alcohol abuse, criminal history, and record concerning appearances at court proceedings.

The report lists four felony convictions and four pages of various contacts with law enforcement,

so those are not good.

   The next factor is whether at the time of the current offense or arrest you were on probation,

parole or other release. It appears from the report that you may or may not have been because

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there are a lot of charges that do not have dispositions, so I can’t tell whether you were waiting

for trial on them or whether they had gone away.

   The final factor is the nature and seriousness of the danger to any person in the community

that would be posed by your release. That is also a big problem because any time you are

distributing crack you are causing real problems in the community.

   Considering all those factors together, I do not see any conditions that will make sure that you

appear and that the community is protected so you will remain detained.




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